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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


UNITED STATES,

       Plaintiff,
                                                                     NO. 19-CR-10081-IT

       v.

  GORDON ERNST,
  DONNA HEINEL,
MIKAELA SANFORD,
    MARTIN FOX,
  NIKI WILLIAMS,
WILLIAM FERGUSON,
 JORGE SALCEDO,
   JOVAN VAVIC.

       Defendants
                               ORDER ON EXCLUDABLE DELAY


KELLEY, U.S.M.J.

       An interim status conference was held today. After hearing argument from the parties, the

court declined to set deadlines for discovery motions at this time. Discovery is voluminous, consisting

of approximately two million documents, and defendants are still reviewing the discovery. The

government has further limited discovery that it will produce in the near future.

        The defendants will file a Rule 12(b)(3)(B)(v) motion to dismiss for failure to state an offense

concerning the single RICO conspiracy count alleged in the current indictment by October 15, 2019.

The government will file an opposition by November 19, 2019, and reply briefs will be due by

December 10, 2019.

       It is premature to set dates for expert disclosures.

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           No defendants will raise defenses of insanity, public authority, or alibi.

           An interim status conference will be held on January 17, 2020 at 2:15 p.m


With the agreement of the parties, the Court finds that the interests of justice in this case, i.e., to allow

the parties time to prepare for trial, outweigh the best interests of the public and defendants for a trial

within seventy days of the date of the defendants’ initial appearance.

           Accordingly, it is hereby ORDERED that, pursuant to the provisions of 18 U.S.C. §

    3161(h)(7)(A), the Clerk of this Court enter excludable time for the period from October 1, 2019, up

    to and including January 17, 2020. 1

                                                             /s/ M. Page Kelley
                                                             M. PAGE KELLEY
                                                             United States Magistrate Judge




1
  The parties are hereby advised that under the provisions of Rule 2(b) of the Rules for United States
Magistrates in the United States District Court for the District of Massachusetts, any party may move for
reconsideration by a district judge of the determination(s) and order(s) set forth herein within fourteen (14)
days after receipt of a copy of this order, unless a different time is prescribed by this court or the district
judge. The party seeking reconsideration shall file with the Clerk of this Court, and serve upon all parties, a
written notice of the motion which shall specifically designate the order or part thereof to be reconsidered
and the basis for the objection thereto. The district judge, upon timely motion, shall reconsider the magistrate
judge's order and set aside any portion thereof found to be clearly erroneous in fact or contrary to law. The
parties are further advised that the United States Court of Appeals for this Circuit has indicated that failure to
comply with this rule shall preclude further appellate review. See Phinney v. Wentworth Douglas Hospital,
199 F.3d 1 (1st Cir. 1999); Sunview Condo. Ass’n v. Flexel Int’l, 116 F.3d 962 (1st Cir. 1997); Pagano v.
Frank, 983 F.2d 343 (1st Cir. 1993).
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